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                  EXHIBIT 40-A
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                                                                  REFERENCE COPY
 This is not an official FCC license. It is a record of public information contained in the FCC's licensing database on the date that this reference
 copy was generated. In cases where FCC rules require the presentation, posting, or display of an FCC license, this document may not be used in
 place of an official FCC license.
      Re                              Federal Communications Commission
                                                    Wireless Telecommunications Bureau

                                                   RADIO STATION AUTHORIZATION


  LICENSEE: New Line Networks LLC
                           fe                                                                                          Call Sign
                                                                                                                       WRPF418
  NEW LINE NETWORKS LLC
  600 W CHICAGO AVE, STE 840                                                                                  File Number
  CHICAGO, IL 60654                                                                                           0010842455
                                                                                                              Radio Service
                                          re
                                                                                                   MG - Microwave Industrial/Business Pool

                                                                                                           SMSA                  Station Class
                                                                                                                                     FXO
FCC Registration Number (FRN): 0024256844
                                            nc
            Grant Date                        Effective Date                         Expiration Date                        Print Date
            01-27-2022                         02-09-2024                              01-27-2032                           02-10-2024

                                                                  LOCATION
Fixed Location Address or Area of Operation:
Self Blvd and Federal Blvd
City: Carteret     County: MIDDLESEX         State: NJ
                                                                             e
                                                                                                                          Antenna Structure
Loc No.         Location Name                   Latitude                Longitude                 Elevation               Registration No.
001             Self MB                         40-35-03.3 N            074-14-40.9 W             9.0
002             Warren                          40-37-17.0 N            074-30-14.0 W             167.1
                                                             FREQUENCY PATHS
                                                                                          Co
Frequency        Tol      Emission           EIRP Constr          Path Seg Emit Ant Hgt Gain Beam POL AZIM Rec Rec
(MHz)            (%)      Desig              (dBm) Date           No       Loc (m)      (dBi) (deg)   (deg) Loc Call
                                                                           No             Reflector         No Sign
                                                                                        Ht(m)xWd(m)

17800.0          0.00070 40M0D7W             61.700 07-27-2023 001       1     001     30.5      44.7    0.9       V     280.8     002 WQXM805
                         40M0D7W
17800.0          0.00070 40M0D7W             66.700 07-27-2023 001       1     001     30.5      44.7    0.9       V     280.8     002 WQXM805
                                                                                            py
                         40M0D7W
18000.0          0.00070 40M0D7W             61.700 07-27-2023 002       1     001     30.5      44.7    0.9       H     280.8     002 WQXM805
                         40M0D7W
18000.0          0.00070 40M0D7W             66.700 07-27-2023 002       1     001     30.5      44.7    0.9       H     280.8     002 WQXM805


   Conditions:
   Pursuant to §309(h) of the Communications Act of 1934, as amended, 47 U.S.C. §309(h), this license is subject to the
   following conditions: This license shall not vest in the licensee any right to operate the station nor any right in the use of the
   frequencies designated in the license beyond the term thereof nor in any other manner than authorized herein. Neither the
   license nor the right granted thereunder shall be assigned or otherwise transferred in violation of the Communications Act of
   1934, as amended. See 47 U.S.C. § 310(d). This license is subject in terms to the right of use or control conferred by §706 of
   the Communications Act of 1934, as amended. See 47 U.S.C. §606.

                                                                                                                                         FCC 601-M
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Licensee Name: NEW LINE NETWORKS LLC

Call Sign: WRPF418                  File Number: 0010842455                      Print Date: 02-10-2024
Frequency
(MHz)
         Re    Tol
               (%)
                      Emission
                      Desig
                                 EIRP Constr
                                 (dBm) Date
                                                  Path Seg Emit Ant Hgt Gain Beam POL AZIM Rec Rec
                                                  No       Loc (m)
                                                           No
                                                                        (dBi) (deg)
                                                                          Reflector
                                                                        Ht(m)xWd(m)
                                                                                      (deg) Loc Call
                                                                                            No Sign

                       40M0D7W
6063.8         0.00070 30M0D7W   58.400 07-27-2023 003   1   001   30.5   34.4     3.0    V    280.8   002 WQXM805
                       30M0D7W
6063.8         0.00070 30M0D7W   62.400 07-27-2023 003   1   001   30.5   34.4     3.0    V    280.8   002 WQXM805
6093.45
                       fe
               0.00070 30M0D7W
                       30M0D7W
                                 58.400 07-27-2023 004   1   001   30.5   34.4     3.0    H    280.8   002 WQXM805

6093.45        0.00070 30M0D7W   60.200 07-27-2023 004   1   001   30.5   34.4     3.0    H    280.8   002   WQXM805
18080.0        0.00030 40M0D7W   66.700 08-09-2025 005   1   001   30.5   44.7     0.9    V    280.8   002   WQXM805
18080.0        0.00030 40M0D7W   67.700 08-09-2025 005   1   001   30.5   44.7     0.9    V    280.8   002   WQXM805
18080.0        0.00030 40M0D7W
                                 re
                                 68.700 08-09-2025 005   1   001   30.5   44.7     0.9    V    280.8   002   WQXM805
18080.0        0.00030 40M0D7W   69.700 08-09-2025 005   1   001   30.5   44.7     0.9    V    280.8   002   WQXM805
18120.0        0.00030 40M0D7W   66.700 08-09-2025 006   1   001   30.5   44.7     0.9    H    280.8   002   WQXM805
18120.0        0.00030 40M0D7W   67.700 08-09-2025 006   1   001   30.5   44.7     0.9    H    280.8   002   WQXM805
18120.0        0.00030 40M0D7W   68.700 08-09-2025 006   1   001   30.5   44.7     0.9    H    280.8   002   WQXM805
18120.0        0.00030 40M0D7W   69.700 08-09-2025 006   1   001   30.5   44.7     0.9    H    280.8   002   WQXM805
                                   nc
Waivers/Conditions:

NONE
                                                             e
                                                                      Co
                                                                        py

                                                                                                             FCC 601-M
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